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                                UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

JACK WESLEY COOPER, on behalf of himself             )
And all others similarly situated                    )
                                                     )
               Plaintiff,                            )
                                                     )      Civil Action No. 17-cv-00773
               v.                                    )
                                                     )      Hon.Manish Shah
RETRIEVAL-MASTERS CREDITORS                          )
BUREAU, INC.,                                        )      Magistrate Judge Young B. Kim
                                                     )
               Defendant.                            )

                                        NOTICE OF APPEAL

       Notice is hereby given in accordance with Rule 3 of the Federal Rules of Appellate

Procedure that plaintiff Jack Cooper, appeals to the United States Court of Appeals for the Seventh

Circuit from the judgment entered August 14, 2018, granting Defendant’s Motion for Relief under

Federal Rule of Civil Procedure 11, and granting in part Defendant’s Motion for Relief under 28

U.S.C. § 1927, entered on August 14, 2018.


                                                     Respectfully submitted,


Dated: September 13, 2018                            /s/Celetha C. Chatman
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                                                     Attorney for Plaintiff Luvenia Elverton




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                                CERTIFICATE OF SERVICE

       I, the undersigned attorney, hereby certify that on June 20, 2018, I electronically filed the

foregoing document with the Clerk of Court for the Northern District of Illinois using the

CM/ECF system which will send notification of such filing to the attorneys of record.


                                                     /s/Celetha C. Chatman
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